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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
UNITED STATES OF AMERICA,          )
                                   )
          v.                       )                  CRIMINAL ACTION
                                   )                  NO. 22-10141-WGY
SEAN O’DONOVAN,                    )
                                   )
                    Defendant.     )
___________________________________)


YOUNG, D.J.                                           July 19, 2023

                        MEMORANDUM AND ORDER

     After this Court had, following hearings on November 7,

2022, and December 19, 2022, considered and denied Sean

O’Donovan’s (“O’Donovan”) motion to dismiss, ECF. No. 19,

O’Donovan renewed his motion.        Renewed Mot. Dismiss Counts 1 & 2

("Renewed Mot. Dismiss"), ECF No. 52.          O’Donovan does so under

the supposition that two binding cases, not in existence at the

time of his first motion, mandate a dismissal of Counts 1 and 2.

O’Donovan suggests that such dismissal is required because these

new cases force the conclusion that the indictment here fails to

allege the core bribery required for a charge of honest services

fraud.    The Court rejects O’Donovan’s argument.

     The first of the two cases upon which O’Donovan bases his

renewed motion on is United States v. Abdelaziz, 68 F.4th 1 (1st

Cir. 2023).     Renewed Mot. Dismiss 1.      Abdelaziz, in the part


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relevant to this motion, saw the First Circuit reiterate that 18

U.S.C. section 1346 “criminalizes only the bribe-and-kickback

core of the pre-McNally case law.”        68 F.4th at 28.   Insofar as

O’Donovan argues that the fact pattern put forth by the

indictment –- O’Donovan bribing a public official by manner of

payment to the official’s relative –- removes this case from the

core of honest services fraud, this Court offers no more than

reference to its existing ruling on the original motion to

dismiss.

     The novel argument raised through the current motion,

however, is that somehow the existence of an undercover

operation and a cooperating witness removes this case from the

core of honest services fraud.     Renewed Mot. Dismiss 3-4.          At

the hearing for the instant motion, O’Donovan relied on a

specific definitional excerpt as to the honest services

doctrine, originally from Skilling v. United States, 561 U.S.

358, 400 (2010), but quoted too in Abdelaziz: “[w]hile the

offender profited, the betrayed party suffered no deprivation of

money or property; instead, a third party, who had not been

deceived, provided the enrichment.”        Abdelaziz, 68 F.4th at 27

(emphasis added).   Interpreting and applying this passage to his

circumstances, O’Donovan argues that he was deceived because of

the government's undercover operation, and therefore, cannot be

indicted under an honest services fraud theory.

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        O’Donovan’s argument is of no moment.       When Skilling’s

reference to deception is read in context, the argument that a

government undercover operation precludes honest services fraud

culpability unravels.       In Skilling, the Supreme Court sought to

review the genesis and subsequent development of the honest

services fraud doctrine.       561 U.S. at 399.     In doing so, the

Supreme Court first set out what a conventional understanding of

fraud is in terms of who profits and who loses: “[a] victim's

loss of money or property supplie[s] the defendant's gain, with

one the mirror image of the other.”          Id. at 400.   The Supreme

Court then explained that honest services fraud lacked such

symmetry.

        While the offender profited, the betrayed party
        suffered no deprivation of money or property; instead,
        a third party, who had not been deceived, provided the
        enrichment. For example, if a city mayor (the
        offender) accepted a bribe from a third party in
        exchange for awarding that party a city contract, yet
        the contract terms were the same as any that could
        have been negotiated at arm's length, the city (the
        betrayed party) would suffer no tangible loss. Cf.
        McNally, 483 U.S., at 360, 107 S.Ct. 2875. Even if the
        scheme occasioned a money or property gain for the
        betrayed party, courts reasoned, actionable harm lay
        in the denial of that party's right to the offender's
        “honest services.” See, e.g., United States v. Dixon,
        536 F.2d 1388, 1400 (C.A.2 1976).

Ibid.

        Read in context it is clear that the reference to deception

in the manner set out by the Supreme Court in Skilling deals

with the necessary juxtaposition between regular fraud and

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honest services fraud.    The Supreme Court distinguished regular

fraud, where it is the victim who is deceived, from honest

services fraud, where a third party enriches the offender, and

an entirely different party suffers a betrayal or deception

through a denial of their right to the offender’s honest

services.   Id.   One simply cannot read into this -- in the

manner that O’Donovan wishes that this Court would –- as

precluding liability for honest services fraud where the third

party is enriching whom he believes to be an offender but does

so under a mistaken premise orchestrated by the government.

There is no precedent that suggests this Court must do so here.

Moreover, while O’Donovan may argue that it is in fact the

government’s burden to identify a pre-McNally precedent that

supports honest services fraud where a government operation was

involved, this Court does not go so far as to collapse such an

operation with the facts pertaining to the alleged honest

services fraud here.    There are the alleged underlying facts

giving rise to honest services fraud and then there exists too a

government operation.    These do not coalesce into a single fact

pattern to which the government must find an analog.

     The second case upon which O’Donovan bases his renewed

motion is Percoco v. United States, 143 S. Ct. 1130 (2023).

Renewed Mot. Dismiss 1.    Percoco concerned the issuance of a

jury instruction regarding whether a private citizen may owe a

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duty of honest services to the public.          143 S. Ct. at 1138-39.

The Supreme Court ruled that a jury instruction suggesting that

a private citizen could owe a duty of honest services to the

public if “people working in the government actually relied on

him because of a special relationship he had with the

government” was too vague and consequently invalid.            Id. at

1138.    The Supreme Court reasoned that such a jury instruction,

were it to be accepted, would have rendered well connected

lobbyists susceptible to honest services fraud charges.             Id.

That is of no relevance at this stage of the proceedings.

O’Donovan may maintain that his actions constitute lawful

lobbying but the indictment alleges that O’Donovan believed

himself to be in a quid pro quo agreement with the Chief of the

Medford Police.      At the motion to dismiss stage, where all

intendments must be drawn in favor of the indictment,

O’Donovan’s arguments pertaining to lawful lobbying must be

rejected.     See Boyce Motor Lines v. United States, 342 U.S. 337,

343 n.16 (1952) (explaining that when adjudicating a motion to

dismiss a criminal case, courts accept the factual allegations

pled in the indictment as true).

        The cases addressed here do not sway the Court’s former

opinion.     The indictment stands.      Motion, ECF No. 52, denied.

SO ORDERED.



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                                                /s/ William G. Young
                                                  WILLIAM G. YOUNG
                                                        JUDGE
                                                       of the
                                                   UNITED STATES1




     1 This is how my predecessor, Peleg Sprague (D. Mass. 1841-
1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 45 years.
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